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     IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF FLORIDA
                 PANAMA CITY DIVISION

UNITED STATES OF AMERICA

v.                                        Case No. 5:20cr28-MW/MJF

MARGO DEAL ANDERSON and
JAMES DAVID FINCH,

                     Defendants.

_______________________________/

                 GOVERNMENT’S RESPONSE TO
                DEFENDANTS’ MOTIONS TO SEVER

      On August 23, 2022, Defendant James Finch moved to sever Counts

17 through 25 against Defendant Margo Anderson so that charges

against her only would be tried later. ECF 325. A few days later,

Defendant Anderson filed a separate motion seeking the same relief,

without seeking to sever charges against only Defendant Finch. ECF 326.

Both Defendants claim misjoinder. Defendant Finch makes the

conclusory assertion that evidence about ECS and WorldClaim will

“severely prejudice” him without explaining how. ECF 325 at 12.

Defendant Anderson says, in essence, that her chances of acquittal would

be better if there were separate trials. ECF 326 at 12. Neither Defendant


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makes meaningful argument why any evidence relating to ECS and

WorldClaim would be inadmissible (as inextricably intertwined evidence

or under Rule 404(b)) if the counts were severed for separate trials.

Rather, their circular and conclusory arguments show that Defendants

plainly fear that a properly instructed jury will convict them on factually

related charges after it hears all the relevant, admissible evidence about

what they did. Though the legal terms used by both Defendants in their

papers are “sever” and (in later filings, no doubt) “exclude,” this is an

attempt to divide and conquer to keep the jury, or rather two juries, in

the dark about the whole scope of Defendants’ alleged criminal conduct.

     Defendants are properly joined because, under circuit precedent,

there is a “substantial identity of facts or participants” and thus the

charges Defendants want tried separately are within the “same series of

acts or transactions” under Federal Rule of Criminal Procedure 8(b).

Because Defendants have not shown a serious risk that a joint trial would

compromise any specific trial right or prevent the jury from making a

reliable judgment about guilt or innocence, severance for prejudice is not

warranted under Rule 14(a). See Zafiro v. United States, 506 U.S. 534,




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539 (1993). Accordingly, this Court should deny Defendants’ motions to

sever.

                           BACKGROUND

     The charges in the second superseding indictment are briefly

summarized here.

     Count 1 charges both Defendants with conspiracy to commit honest

services wire fraud relating to Defendant Finch’s business interests

before the City of Lynn Haven, describing certain projects, as specific

opportunities arose under the “retainer theory” of bribery. ECF 214

¶¶123-126. Counts 2 through 14 charge Defendants with substantive

honest services wire fraud counts regarding specific wires sent in

furtherance of the Count 1 conspiracy. ECF 214 ¶¶127-130. Count 15

charges Defendant Anderson with a violation of 18 U.S.C. §666 relating

to the acceptance of a motorhome intending to be “influenced or

rewarded” in connection with City business related to Defendant Finch.

ECF 214 ¶¶131-132. Count 16 is the inverse of Count 15; it charges

Defendant Finch with offering and agreeing to give the motorhome with

such intent. ECF 214 ¶¶133-134.




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     Count 17 essentially charges Defendant Anderson with stealing

from the City related to hurricane cleanup at her residence. ECF 214

¶¶135-136. Counts 18 and 19 charge Defendant Anderson only with

traditional wire fraud schemes relating to hurricane recovery and her

involvement with ECS. The ECS aspect of the overall scheme is alleged

to be fraudulent billings to the City for hurricane cleanup on public

property which was not performed, and where ECS workers were instead,

in part, performing work at Defendant Anderson’s property.

     Counts 20 through 24 charge Defendant Anderson with honest

services wire fraud relating to the WorldClaim scheme. ECF 214 ¶¶140-

142. The WorldClaim scheme is alleged as an agreement for the City

Manager, a City Commissioner, and Defendant Anderson to receive free

insurance adjustment services in exchange for a contract with the City.

     Counts 25 and 26 separately charge Defendants with making false

statements to the FBI in their separate interviews on November 18, 2019,

and July 13, 2020, respectively. ECF 214 ¶¶143-147.

     On November 18, 2019, two FBI special agents interviewed

Defendant Anderson. In the interview, Defendant Anderson claimed that

that she did not know anything about ECS and was not aware of its role


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in the cleanup. Defendant Anderson claimed that she first met Mickey

White of ECS in December 2018 or January 2019 while volunteers were

cleaning up streets. The indictment against Michael White, Mickey

White, and others, was unsealed the next day on November 19, 2019.1

That indictment specifically alleged that Michael White directed City

employees to pay an ECS invoice for $527,512, which falsely claimed that

ECS had performed work at a cemetery and sports complexes when in

fact ECS workers were at Michael White’s property (outside of Lynn

Haven) and the residences of “the Mayor and her mother.”2

     Shortly thereafter, in early December 2019, Defendant Anderson

retained attorney Ron Johnson to represent her. On December 30, 2019,

a check from the Anderson’s joint bank was signed by her spouse and

made out to Defendant Finch for $20,000, purportedly for the Motorhome

transferred in February 2018. This was just days after Defendant

Anderson and Defendant Finch were each served grand jury subpoenas

for documents regarding the financial relationship between them. But it

was 22 months after Defendant Finch provided the motorhome to


     1   United States v. White et al, 5:19cr78-RH/MJF, ECF 12 (N.D. Fla.).

     2   5:19cr78, ECF 1 ¶22.


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Defendant Anderson and her husband at no charge, just after she had

pressured the City Manager to do business Defendant Finch’s way. In

July 2020, Defendant Finch lied to the FBI about the nature of the

motorhome transfer by presenting a bill of sale falsely representing that

$35,000 had been paid as of July 2018.

      On November 16, 2021, after guilty pleas from seven defendants (in

this case and two others brought), the grand jury returned a second

superseding indictment. ECF 214. In early December 2021, Defendants

moved to dismiss it with prejudice. On June 13, 2022, the Court denied

Defendants’ motions to dismiss the second superseding indictment.3 In

late August 2022, both Defendants moved to sever counts brought only

against Defendant Anderson to have those tried later.

                               ARGUMENT

      This Court should deny Defendants’ motions to sever Counts 17

through 25 of the second superseding indictment. The second superseding

indictment charges a conspiracy and scheme with Defendant Anderson

agreeing to bribes from Defendant Finch for his business interests before



      3  The Court originally granted Defendants’ motions to dismiss Count 1 on
duplicity grounds. But the Court granted the government’s motion for
reconsideration in part and vacated that dismissal.
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the City of Lynn Haven, and Defendant Finch lying about it. It also

charges Defendant Anderson with being bribed (and otherwise

defrauding the City) by others in ways that are directly relevant to

proving an attempted cover-up of a bribe from Defendant Finch, and

Defendant Anderson lying about that fraud just before the attempted

cover-up.

     All the counts alleged are properly joined; they are logically

connected, subject to overlapping proof, and connected by a common

scheme or plan. See Fed. R. Crim. P. 8(b). To sever the counts and justify

the need for a second trial at which a second jury will be convened (and

one where many of the same witnesses will testify a second time),

Defendants must overcome a heavy burden by showing substantial

prejudice from the joinder. See Fed. R. Crim. P. 14(a). Defendants have

not done so. Because Defendants have failed to make such a showing, the

motions should be denied.

     The general rule is that “[d]efendants who are indicted together are

usually tried together.” United States v. Lopez, 649 F.3d 1222, 1233 (11th

Cir. 2011) (citing United States v. Browne, 505 F.3d 1229, 1268 (11th

Cir.2007); Puiatti v. McNeil, 626 F.3d 1283, 1309; United States v. Chavez,


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584 F.3d 1354, 1360 (11th Cir. 2009); United States v. Baker, 432 F.3d

1189, 1236 (11th Cir. 2005); United States v. Novaton, 271 F.3d 968, 989

(11th Cir. 2001); United States v. Schlei, 122 F.3d 944, 984 (11th Cir.

1997); United States v. Alvarez, 755 F.2d 830, 857 (11th Cir. 1985); United

States v. Perez, 489 F.2d 51, 65 (5th Cir. 1973).4 Joint trials have many

benefits: they reduce the risk of inconsistent verdicts and the unfairness

inherent in serial trials, lighten the burden on victims and witnesses,

increase judicial efficiency, and conserve scarce judicial resources. There

is a “solid body of law favoring joint trials and placing a heavy burden on

those who want to be tried separately.” Lopez, 649 F.3d at 1233.

     In deciding whether to permit joinder of defendants, a court must

accept the factual allegations of the indictment as true. See United States

v. Phillips, 664 F.2d 971, 1016 (5th Cir. 1981). Under Rule 8(a), offenses

may be charged in the same indictment when they are: (1) of the same or

similar character, (2) based on the same act or transaction, or (3)

connected together or constitute parts of a common scheme or plan.

Under Rule 8(b), “[t]he indictment or information may charge 2 or more


     4
        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981)
(en banc), the Eleventh Circuit adopted as binding precedent all decisions
of the former Fifth Circuit issued before October 1, 1981.
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defendants if they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions, constituting an

offense or offenses.” (emphasis added) “The defendants may be charged

in one or more counts together or separately” and “[a]ll defendants need

not be charged in each count.” Id.

     Here Rule 8(b) is the governing framework. But cases interpreting

the second and third tests from Rule 8(a) are generally held applicable to

Rule 8(b). See, e.g., United States v. Roselli, 432 F.2d 879, 898 (9th Cir.

1970). This makes sense: if alleged offenses are based on the same act or

transaction, are “connected together,” or are “parts of a common scheme

or plan,” than it stands to reason that defendants alleged to “have

participated in the same act or transaction, or in the same series of acts

or transactions, constituting an offense or offenses” will have, allegedly,

done the same.

     Regarding joinder of defendants, the Eleventh Circuit utilizes the

“broadest definition of ‘series,’” which “comes from the cases that say a

‘substantial identity of facts or participants’ can be enough to satisfy Rule

8(b).” Wright & Miller, 1A Fed. Prac. & Proc. Crim. §145 (5th ed.); e.g.,

United States v. Morales, 868 F.2d 1562, 1569 (11th Cir. 1989) (citing


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earlier cases and applying this standard). Based on the text of Rule 8(b),

“it is obvious that each defendant need not have participated in every act

or transaction in the alleged series.” Wright & Miller, §145 (emphasis

added). For purposes of the rule, “transaction” is a word of flexible

meaning, and may comprehend a series of many occurrences, depending

not so much on the immediateness of their connection as upon their

logical relationship. See United States v. Park, 531 F.2d 754, 761 (5th Cir.

1976).5

      Defendants are properly joined where the fact of illegal activity by

one provides the impetus for illegal activity by them both. See United

States v. Dominguez, 226 F.3d 1235, 1230 (11th Cir. 2000). Consider

Morales for example. There the court considered the government’s theory

of the case and concluded that Rule 8(b) was satisfied because one crime

committed by several defendants explained why one defendant

committed another; a drug trafficking conspiracy explained why a drug

dealer answered the door with a gun. 858 F.2d at 1569-1570. Indeed,




      5
       Defendant Anderson asserted that misjoinder is “inherently prejudicial.” ECF
326 at 2. That is not correct. Rule 8 misjoinder is subject to harmless-error review.
See United States v. Lane, 474 U.S. 438, 449 (1986).
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overlapping proof tends to show the “substantial identity” required for

joinder of defendants. Id.

     The second superseding indictment properly joins Defendants.

Defendant Anderson complains about “mental gymnastics,” a rimless

wheel, and disconnected spider webs. ECF 326 at 4. This case is not that

complicated, especially after other defendants have pleaded guilty.

     As alleged in the second superseding indictment, Defendant Finch

was a contractor who paid public officials (Defendant Anderson and

Commissioner Barnes) to get what he wanted from the City of Lynn

Haven. Defendant Anderson was a public official who accepted bribes

from Defendant Finch and other people. When Defendant Anderson’s

conduct was implicated in bribes from those other persons in a federal

criminal indictment, both Defendants tried (clumsily) to cover up a bribe

from Defendant Finch to Defendant Anderson. They both have continued

(clumsily) to try to cover up their relationship with one another.

     If counts were severed, the same evidence would be properly

admitted at both trials. The evidence regarding ECS and WorldClaim

would be admissible as to “Finch schemes” (as Defendants label them).




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The evidence about the “Finch schemes” is relevant to ECS and

WorldClaim.

     The charged conspiracy includes numerous allegations that

Defendant Anderson pressured former City Manager Michael White to

take official action favorable to Defendant Finch’s business interests.

Recall, also, that the previous city manager left in part because he did not

like working with Defendant Anderson and told her no from time to time.

See Def. Ex. 62 at 2-3. Michael White was hired after being vetted by

Derwin White, Defendant Anderson’s husband, and Defendant Finch to

make sure he would be a “friend” to City contractors. According to Michael

White, Defendant Anderson believes in the concept “you take care of me,

I take care of you.” While Michael White was agreeing to bribes related to

ECS and WorldClaim, he made sure to include Defendant Anderson as a

beneficiary. Thus, ECS and WorldClaim, to varying degrees, both

corroborate Michael White’s account of their relationship, which was to

the benefit of both Defendants in this case.

     The ECS evidence also provides important context about the

hurricane debris disposal business that Defendant Anderson directed to

Defendant Finch. As noted in detail in other filings, after the hurricane


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struck on October 10, 2018, ECS got lots of money from the City for

hurricane cleanup, committing a large fraud in the process. Defendant

Finch was out of pocket (to some extent) for the rest of the month. The

evidence indicates that Defendant Finch was upset that he was missing

out on lucrative City business, which was heading to ECS (Mickey White)

and then GAC (Derwin White). Among other things, while he was out of

town, Defendant Anderson stopped the City Manager and City Engineer

from attempting to use City property for debris disposal. The City

Manager, Michael White, and City Attorney determined to send the

disposal business to Derwin White. Upon Defendant Finch’s return,

Defendant Anderson convened a meeting at his house, with the City

Engineer and City Manager, and thereafter directed City Manager

Michael White to send the debris to Defendant Finch’s property. And

while the parties dispute inferences and conclusions to draw from the

evidence, there is no doubt that Defendant Finch was involved in the

aftermath of Michael White’s March 2019 arrest, the search of ECS, and

the backdated invoices found there; indeed, the evidence indicates that




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Defendant Finch was the impetus for Derwin White instructing Mickey

White to create the backdated invoices.6

      The evidence of the ECS and WorldClaim schemes also explains the

timing of the Andersons’ December 2019 payment for the motorhome7; it

is the impetus for the act of concealment in furtherance of the alleged

Anderson/Finch conspiracy. See Dominguez, 226 F.3d at 1230. If no

money was paid until December 2019, when a strong reason to coverup

appeared (i.e., the possibility of Counts 17 through 25), it also proves the

knowing and willful falsity of the bill of sale that Defendant Finch gave

to the FBI in July 2020 (Count 26) in which he falsely claimed that

$35,000 had been paid as of July 2018. Such evidence would be admissible

against Defendant Finch on charges that he conspired to bribe, and did

bribe, Defendant Anderson. Both the ECS and WorldClaim schemes are

relevant to show why the partial payment for the motorhome was

eventually made in December 2019, after other persons were charged

with respect to ECS and after Defendant Anderson was interviewed by



      6 Defendant Finch’s counsel have asserted that they have direct evidence that
the impetus for the backdated invoices was a leak from law enforcement about the
imminent search of ECS. But that evidence, if it exists, has not been disclosed.

      7   A $20,000 check, and a suspicious and unexplained $15,000 cash withdrawal.
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the FBI in November 2019, and are therefore necessary to complete the

story of the crimes. See, e.g., United States v. Wright, 392 F.3d 1269, 1276

(11th Cir. 2004) (explaining that “evidence of . . . events contributed to

the understanding of the situation as a whole”).

      Put another way, the alleged ECS and WorldClaim bribes to

Defendant Anderson are intertwined with, and thus are logically

connected to, the bribery conspiracy between Defendant Anderson and

Defendant Finch even though he is not charged regarding those matters;

Rule 8(b) does not require him to be charged in those counts for proper

joinder.8 There is a “substantial identity of facts and participants” under

Rule 8(b).

      Moreover, an important issue at trial is Defendants’ intent.

Defendants say that the stream of benefits flowing from Defendant Finch

to Defendant Anderson came from friendship rather than a corrupt

bargain; that the benefits were not offered or accepted with the intention




      8 The Court’s reconsideration order stated the government “has previously (and
very nearly convincingly) made the argument that the ECS scheme furthered Finch’s
interests.” ECF 323 at 6. The government does not believe it made that contention.
The government argued that the ECS scheme was but one component of a broad
conspiracy to defraud the City and that broader conspiracy included Defendant
Finch’s projects, or “business interests,” as other components. See ECF 159 at 24-26.

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of influencing official action. The second superseding indictment alleges

that they were. This is a key point. Indirect evidence can show such

intent. See, e.g., United States v. Menendez, 137 F. Supp. 3d 709, 716

(D.N.J. 2015). Evidence that Defendant Anderson committed fraud

against the City with respect to ECS and accepted a bribe/kickback with

respect to WorldClaim is plainly relevant to whether she agreed to accept

a thing of value from Defendant Finch with the intent to be influenced in

the performance of an official act. See Fed. R. Evid. 404(b). Evidence that

Defendant Finch bribed Defendant Anderson regarding his projects is

relevant to her intent regarding the ECS and WorldClaim schemes. See,

e.g., United States v. Ellisor, 522 F.3d 1255, 1267-1268 (11th Cir. 2008)

(holding that similar frauds were admissible to prove intent to engage in

charged conduct); see also United States v. McBride, 676 F.3d 385, 397

(4th Cir. 2012) (explaining that “[t]he more closely that the prior act is

related to the charged conduct in time, pattern, or state of mind, the

greater the potential relevance of the prior act”).9


      9 The Court reasoned in a previous order that facts related to the WorldClaim
project are not relevant to proving the charged conspiracy unless the WorldClaim
matter is part of it. Such evidence is intrinsic if it is “1) an uncharged offense which
arose out of the same transaction or series of transactions as the charged offense, (2)
necessary to complete the story of the crime, or (3) inextricably intertwined with the
evidence regarding the charged offense.” Ellisor, 522 F.3d at 1269. All three of those
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      Several cooperating defendants/witnesses who are expected to give

significant testimony regarding the alleged “Finch schemes” have

admitted to or are otherwise implicated by other information in the ECS

and WorldClaim matters.10 Defendants have made plain their intent to

impeach these witnesses’ testimony with the witnesses’ own fraudulent

conduct and any guilty pleas to such conduct. It would be absurd to allow

that sort of cross-examination and resulting argument that the witnesses

should not be believed about the “Finch schemes” because the witnesses

are fraudsters themselves, but then exclude the witnesses’ testimony

about Defendant Anderson’s alleged involvement with those schemes,

when such evidence is clearly admissible as intrinsic to the conspiracy or

extrinsic evidence of Defendant Anderson’s intent.

      Defendants both rely on United States v. Nelson, No. 3:10cr23,

2011 WL 1560587 (M.D. Fla. Apr. 25, 2011), for its Rule 14 analysis. ECF

326 at 6 n.1. But that case illustrates why the counts Defendants want

severed are properly joined under Rule 8. The case involved an alleged


tests are met here. Such evidence, if only extrinsic, is still admissible under Rule
404(b) to show intent.

      10 The government respectfully refers to exhibits the defense offered for the
evidentiary hearing: Defendant Exhibits 19 through 44, but specifically 21, 44, and
50.
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public corruption scheme where a public official accepted bribes from

another defendant and was separately charged with a another factually

related fraud in which the other defendant was not alleged to have

participated. The court denied a motion to sever but later reconsidered.

And the though the court ultimately severed the charges under Rule 14

on a showing of prejudice it reaffirmed that the defendants and the

offenses sought to be severed were properly joined under Rule 8. 2011 WL

1560587 at *1.

     Here there is substantial overlapping admissible evidence. There is

a “substantial identity of facts or participants.” Defendants are alleged to

have “participated in the . . . same series of acts or transactions,

constituting an offense or offenses,” even though Defendant Finch is not

charged in the counts Defendants seek to sever. See Fed. R. Crim. P. 8(b).

The charges are properly joined under Rule 8(b).

      Under Rule 14(a) “[i]f the joinder of offenses or defendants in an

indictment . . . appears to prejudice a defendant or the government, the

court may order separate trials of counts.” Relief from a claim of improper

joinder requires more than just the potential for prejudice. See Lopez, 649

F.3d at 1233. The exceptional circumstances justifying a deviation from


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the rule that defendants who are indicted together should be tried

together, however, are few and far between. Id. A defendant seeking a

severance must overcome the “heavy burden of demonstrating [that]

compelling prejudice” would result from a joint trial. Id. (citing Browne,

505 F.3d at 1268) (emphasis added). “To show compelling prejudice, a

defendant must establish that a joint trial would actually prejudice the

defendant and that a severance is the only proper remedy for that

prejudice—jury instructions or some other remedy short of severance will

not work.” Id. (emphasis added). Here, Defendants have failed to meet

that burden.

     There are two categories of potential prejudice: a serious risk that

a joint trial would either: (1) compromise a specific trial right, or (2)

prevent the jury from making a reliable judgment about guilt or

innocence. See Zafiro, 506 U.S. 539. Defendants make no argument that

a joint trial would compromise a specific trial right. See generally ECF

325, ECF 326.

     Turning then to the second category of prejudice, it applies in three

situations. First, severance should be granted where the number of

defendants and charges makes it nearly impossible to assess the guilt or


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innocence of each independently. That is not the case here. The Court has

already determined, with regard to a duplicity concern with Count 1, and

very detailed factual allegations, that a limiting instruction that the

Count 1 conspiracy does not include ECS or WorldClaim is enough to

diffuse the identified defect. ECF 323 at 8. It follows that such an

instruction regarding evidence supporting those allegations—specifically,

that the jury must consider evidence against only those Defendant(s)

which the evidence implicates, and to assess the guilt or innocence of each

Defendant on each charge separately—would be sufficient to ensure that

the jury will reliably determine guilt or innocence as to each count and

each Defendant. See, e.g., Lopez, 649 F.3d at 1239. As the Supreme Court

has said, “the risk of transference of guilt over the border of admissibility

[may be] reduced to the minimum by carefully crafted limiting

instructions with a strict charge to consider the guilt or innocence of each

defendant independently.” Lane, 474 U.S. at 450 n.13 (quotation

omitted). Defendants have made no colorable argument to the contrary.

     Second, severance is required if there is compelling evidence that is

not admissible against one or more of the co-defendants. Blankenship,

382 F.3d at 1123–25. “This is a concern, for example, ‘where the ...


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gruesome evidence against one defendant overwhelms the de minimus

evidence against the co-defendant(s).’” Id. (quoting United States v. Gray,

173 F. Supp. 2d 1 (D.D.C.2001)). That is not the case here. Defendants

have not argued or shown specifically what evidence would be

inadmissible against one of them. But the government addressed this in

its December 2021 paper (noting that Defendants had not asked for

severance) and its May 2022 paper (noting same). For the reasons

described above at 7 through 17, there is not prejudicial spillover.

     Consider, for example, the facts of the Eleventh Circuit’s Lopez

decision. 649 F.3d at 1222. There defendants charged as part of a drug

conspiracy were additionally charged with murdering a drug dealer and

his family. Id. at 1238. The Eleventh Circuit explained that while “[n]o

defendants would want evidence of the murder to come before the jury at

their trial regarding the drug conspiracy, even if it were made clear that

they did not participate in the murders,” “[w]hat defendants want . . . is

not the test.” Id. The Eleventh Circuit reasoned that the district court

had repeatedly instructed the jury to consider evidence against only those

defendants that the evidence implicated and to assess the guilt or

innocence of each defendant separately. Id. at 1239. If severance was not


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required there, it surely is not warranted here. See also United States v.

Hernandez, 921 F.2d 1569, 1579 (11th Cir. 1991) (explaining that

“[b]ecause conspiracy defendants are usually tried together, the simple

fact that not all of the charges are directly related does not establish

prejudice”).

     Lastly, severance may be appropriate where a related crime by one

defendant is significantly different than one committed by a co-defendant.

That is obviously not the case here. Counts 17 through 25 are very similar

to the remainder. Defendants have not argued otherwise.

     Trying all counts together makes sense. Doing so greatly advances

judicial efficiency by avoiding the need for two trials at which the same

evidence would be presented. Just as the counts are similar in character,

a single, joint trial would not be unwieldy. Against these efficiencies,

endorsed by the liberal joinder principles behind Rule 8, the Defendants

identify at most only “generalized claim[s] of prejudice,” Rivera, 546 F.3d

at 254, that can be cured by an appropriate limiting instruction (given

repeatedly throughout the trial).

     For the reasons stated above, the Court should not sever Counts 17

through 25. But if it does, the trial of Counts 17 through 25 should go


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first. Both of Defendants’ motions specifically and expressly ask to

proceed to trial on Counts 1 through 16 and 26 on November 28, 2022,

and schedule Counts 17 through 25 at a later time. ECF 325 at 13; ECF

326 at 13. The reason why Defendant Anderson (or her counsel) thinks

that is a good idea for her is unclear. But if Defendant Anderson was

convicted on any of Counts 17 through 25, it may be in her interest to

seek a plea agreement with the government regarding the remaining

charges against her (Counts 1 through 15). Having her trial on Counts

17 through 25 after a trial on Counts 1 through 16 and 26 would remove

that possibility, however remote it may seem to her at this juncture.11

The only beneficiary of trying Counts 17 through 25 later is Defendant



      11  Notably, while Defendant Finch’s counsel have moved to sever charges
against only Defendant Anderson, so there will be two trials for her, Defendant
Anderson has not moved to sever Counts 2, 3, and 8, which are only against
Defendant Finch, relating to him bribing another City Commissioner, which
Defendant Anderson is not alleged to have known about or personally participated
in. That would be a difficult argument to make considering the law on joinder in
conspiracy cases. But one might think that if charges for Defendant Anderson
accepting bribes from ECS and WorldClaim should be severed because Defendant
Finch is not alleged to have taken part, that charges that Defendant Finch bribed the
other Commissioner should similarly be severed because Defendant Anderson also is
not alleged to have taken part. Apparently, Defendant Anderson is not interested in
two trials for Defendant Finch to avoid any prejudicial spillover, under Rule 14(a), to
Defendant Anderson. Defendant Anderson’s counsel have, however, again moved to
dismiss Count 1 on duplicity grounds, and moved to dismiss Counts 2 and 3 for other
reasons, though Counts 2 and 3 are substantive offenses solely against Defendant
Finch, not Defendant Anderson. See ECF 329.

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Finch. Given that Defendant Finch has been trying to avoid trial since

March 2021, dropped a “slow trickle” of successive challenges to the

charging documents since that time, and in July pushed to delay the trial

into late November, any insistence on a speedy trial now would be rather

odd.

       Defendant Finch requested oral argument on his motion. ECF 325.

His counsel estimates that the defense would need 60 minutes of

argument on the motion. ECF 325 at 14. Defendant Finch says “we are

prepared to present to the Court evidence or argument or both to convince

the Court of the rightness of our position.” ECF 325 at 2 n.2. The

government notes that defense counsel made a similar estimate for the

evidentiary hearing the Court set for March 31, 2022. Defense counsel

stretched an estimated two-hour hearing into three days. Oral argument

is unnecessary for the Court to resolve the issue of severance; rather, a

ruling (that is, a denial) based on the pleadings will suffice.

                              CONCLUSION

       Accordingly, the government respectfully asks that the Court deny

Defendants’ motions to sever, ECF 325 and 326.




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                       Respectfully submitted on September 12, 2022,

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                  LOCAL RULE 7.1 CERTIFICATE

     I certify that this paper does not exceed 8,000 words, per Microsoft

Word’s word count, which complies with the word limit requirements set

forth in Local Rule 7.1(F).

                                         /s/ Stephen M. Kunz
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